
SWING, J.
It appears that tender was made before suit was brought before the justice'Of the peace, but was not made good previous to trial before the justice by bringing the money into court. Swan, at page 820 (10th ed.) says: “The amount of money tendered must be brought into court and deposited with the justice of the peace.” The case went to judgment before the justice and was brought to the common pleas on an appeal, when a tender was again made of the amount of the judgment and was paid into court, but did not include the costs due the paintiff before the justice. In order to have tendered plaintiff he amount due him it should have included not only the interest due on his claim, but also the costs due him up to the time of the tender, and this must have included the costs before the justice. This was not done, and therefore the plaintiff was entited to judgment as to costs.
